Case 5:24-cv-00083-TJC-PRL Document 1-1 Filed 02/22/24 Page 1 of 29 PageID 12




   COMPOSITE
   COMPOSITE EXHIBIT
             EXHIBIT A
2/14/24, 11:09 AM                            Case 5:24-cv-00083-TJC-PRL Document 1-1Marion
                                                                                      Filed   02/22/24
                                                                                           County OCRS Page 2 of 29 PageID 13




                                                                                                                                                                                                                          New Search Expand All


            Case Number                    Filed Date                                    Case Type                                                                Status                                       Contested                Jury Trial
   422024CA000073CAAXMX
                                          01/13/2024                                 Circuit Civil 3-C                                                            OPEN                                             NO                       YES
        [24CA000073AX]


                   Filing Date                                        Description                                         Active                                         Contested                                      Judgment Date
                                                      OTHER CIVIL-DISCRIMINATION-
                   01/13/2024                                                                                             YES                                                NO                                                 -
                                                        EMPLOYMENT OR OTHER


                          Party Name                                                    Party Type                                                     Attorney                                                        Bar ID
   SANDERS, GARY LAMAR                                           JUDGE
   LIFE CARE CENTERS OF
                                                                 DEFENDANT
   AMERICA,    Search This Party
   D/B/A LIFE CARE CENTER OF
                                                                 ALSO KNOWN AS
   OCAL     Search This Party
   ADAMS, FREDDY L              Search This Party                PLAINTIFF                                                     IMLER, JASON WILLIAM                                          1004422

     Dockets

                                                                                                    Page : 1                                   ALL

         Image            Doc #            Action Date                                                                                      Description                                                                                     Pages

                     11                01/24/2024               SUMMONS RETURNED SERVED ON LIFE CARE CENTERS OF AMERICA INC                                                                                                             4

                     10                01/24/2024               NOTICE OF FILING PROOF OF SERVICE FILED BY PLTF                                                                                                                         2

                     9                 01/22/2024               SUMMONS ISSUED                                                                                                                                                          3

                     4                 01/16/2024               Payment received: $410.00 Receipt Number XX 921819
                     2                 01/16/2024               Judge: Assigned

                     8                 01/13/2024               EFILED SUMMONS                                                                                                                                                          3

                     7                 01/13/2024               PETITION/COMPLAINT                                                                                                                                                      12

                     6                 01/13/2024               CIVIL COVER SHEET                                                                                                                                                       3

                     5                 01/13/2024               Filer Selected Confidentiality Flag: NoConfidentialInformation
                     3                 01/13/2024               Assessment 1 assessed at sum $410.00
                     1                 01/13/2024               Case 422024CA000073CAAXMX Filed with Clerk on 1/13/2024


     Judge Assignment History

                          Assigned Date                                               Withdraw Date                                               Judicial Officer                                                   Type
      01/16/2024                                                  -                                                            SANDERS, GARY L


     Court Events

                  Event Date                                 Judge                                Docket Type                               Location                               Prosecutor                         Defendant Attorney
      No records found.


     Financial Summary

                                                                                                               Financial Summary
      Assessment                                   Total: $410.00                                     Paid to Date: $410.00                                                       Balance Due: $0.00
      Restitution                                  Total: $0.00                                       Paid to Date: $0.00                                                         Balance Due: $0.00

                                                                                                                   Financial Details

                     Count                            Assessment Due                     Assessment Paid to Date                        Restitution Due                    Restitution Paid to Date                   Last Payment Date
                                              $410.00                                 $410.00                                  $0.00                                   $0.00                                   -


     Reopen History

                                     Reopen Date                                                                 Reopen Close Date                                                                  Reopen Reason
      No records found.


  ** Pursuant to Florida Statutes and Florida Rules of Court Procedure, records that have been designated as expunged, sealed or confidential may not be available through this service. For additional information on specific records please contact the
  Clerk of Court.




                                                                                                                                                                                                                                             Privacy - Terms



https://www.civitekflorida.com/ocrs/app/caseinformation.xhtml?query=ejqeFdEvlFMv3lIsWVuDk2vdxxI4ndOYxVJVGczHTZI&from=partySearchResults&partyIndex=0                                                                                                      1/1
         Case 5:24-cv-00083-TJC-PRL Document 1-1 Filed 02/22/24 Page 3 of 29 PageID 14
Filing # 189720537 E-Filed 01/13/2024 07:36:43 PM




         FORM      1.997.      CIVIL COVER SHEET

         The civil cover sheet and the information contained in it neither replace nor supplement the filing
         and service of pleadings or other documents as required by law. This form must be filed by the
         plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
         to section 25.075, Florida Statutes. (See instructions for completion.)


                  I.        CASE STYLE

                         IN THE CIRCUIT/COUNTY COURT OF THE FIFTH JUDICIAL CIRCUIT,
                                  IN AND FOR MARION  COUNTY, FLORIDA

         FREDDY         L ADAMS
         Plaintiff                                                                 Case #
                                                                                   Judge
         vs.
        LIFE CARE       CENTERS    OF AMERICA,       INC.
         Defendant



                  II.       AMOUNT    OF CLAIM
        Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
       the claim is requested for data collection and clerical processing purposes only. The amount of the claim
       shall not be used for any other purpose.

         L]   $8,000 or less
         (| $8,001 - $30,000
         L] $30,001- $50,000
         & $50,001- $75,000
         L] $75,001 - $100,000
         LJ over $100,000.00

                  Wl.    TYPE OF CASE            (If the case fits more than one type of case, select the most
         definitive category.) If the most descriptive label is a subcategory (is indented under a broader
         category), place an x on both the main category and subcategory lines.




         Electronically Filed Marion Case # 24CA000073AX 01/13/2024 07:36:43 PM
Case 5:24-cv-00083-TJC-PRL Document 1-1 Filed 02/22/24 Page 4 of 29 PageID 15




CIRCUIT CIVIL

CO Condominium
CO Contracts and indebtedness
CO Eminent domain
O Auto negligence
O Negligence—other
         C Business governance
         Cl Business torts
         O Environmental/Toxic tort
         O Third party indemnification
         Ci Construction defect
           O Mass tort
       C1 Negligent security
       O Nursing home negligence
       OC Premises liability—commercial
       C Premises liability—residential
O Products liability
7 Real Property/Mortgage foreclosure
       CX Commercial foreclosure
       OC Homestead residential foreclosure
       ZC Non-homestead residential foreclosure
       C Other real property actions

_]Professional malpractice
        C1 Malpractice—business
        Ol Malpractice—medical
        O Malpractice—other professional
& Other
        O Antitrust/Trade regulation
        OC Business transactions
        O Constitutional challenge—statute or ordinance
        Ol Constitutional challenge—proposed amendment
        XO Corporate trusts
           Discrimination—employment or other
        CF Insurance claims
        C1 Intellectual property
        2 Libel/Slander
        OC Shareholder derivative action
        OC Securities litigation
        OC Trade secrets
        OC Trust litigation

COUNTY CIVIL

C1 Small Claims up to $8,000
01 Civil
L] Real property/Mortgage foreclosure
Case 5:24-cv-00083-TJC-PRL Document 1-1 Filed 02/22/24 Page 5 of 29 PageID 16



 L] Replevins
 L] Evictions
         L]        Residential Evictions
         L] Non-residential Evictions
 C) Other civil (non-monetary)

                                             COMPLEX BUSINESS COURT

This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
Administrative Order.          Yes L] No


         IV.     REMEDIES SOUGHT (check all that apply):
         X] Monetary;
             Nonmonetary declaratory or injunctive relief;
         1) Punitive

         V.      NUMBER OF CAUSES OF ACTION:                       [_ ]
         (Specify)

               2

         VI.           IS THIS CASE A CLASS ACTION LAWSUIT?
                       LC] yes
                           no

         VII.          HAS      NOTICE     OF ANY   KNOWN    RELATED       CASE    BEEN FILED?
                          no
                       LX yes If “yes,” list all related cases by name, case number, and court.

         VU.           IS JURY      TRIAL DEMANDED        IN COMPLAINT?
                          yes
                       C1 no


         IX.           DOES      THIS CASE    INVOLVE     ALLEGATIONS         OF SEXUAL      ABUSE?
                       CI yes
                          no


 I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
 my knowledge and belief, and that I have read and will comply with the requirements of
 Florida Rule of Judicial Administration 2.425.

 Signature: s/ Jason William Imler                            Fla. Bar # 1004422
                 Attorney or party                                           (Bar # if attorney)

Jason William Imler                                   01/13/2024
 (type or print name)                                 Date

                                                      _3-
          Case 5:24-cv-00083-TJC-PRL Document 1-1 Filed 02/22/24 Page 6 of 29 PageID 17
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                    IN THE CIRCUIT COURT FOR THE FIFTH JUDICIAL CIRCUIT
                             IN AND FOR MARION COUNTY, FLORIDA
                                        CIVIL DIVISION

        FREDDY LORENZO ADAMS,

               Plaintiff,

        v.                                                   CASE NO:

        LIFE CARE CENTERS OF AMERICA, INC.
        d/b/a LIFE CARE CENTER OF OCALA,

               Defendant.
                                                                             ./

                             COMPLAINT AND DEMAND FOR JURY TRIAL

               Plaintiff, FREDDY LORENZO ADAMS, (hereinafter “Plaintiff” or “Mr. Adams”), a

        Florida resident, by and through the undersigned counsel, hereby sues Defendant, LIFE CARE

        CENTERS OF AMERICA, INC. d/b/a LIFE CARE CENTER OF OCALA (hereinafter

        “Defendant” or “Life Care”) and alleges:

                                               INTRODUCTION

               1.      The Plaintiff brings this action against Defendant, his former employer, seeking to

        recover damages for unlawful discrimination based on race in violation of Chapter 760 of the

        Florida Statutes, the Florida Civil Rights Act of 1992, as amended, § 760.10 et seq. (“FCRA”).

               2.      As further set forth below, Plaintiff alleges that Defendant unlawfully discriminated

        against him, altered the terms, conditions, and privileges of his employment because of his race,

        and retaliated against him in violation of his rights under the FCRA.

               3.      As a direct and proximate result of unlawful actions, Plaintiff has suffered actual

        damages: loss of income, loss of opportunity for future income, loss of benefits, and loss of future

        pay increases. In addition, he has suffered and continues to suffer the loss of his professional and
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personal reputation, emotional distress, mental anguish, embarrassment, and humiliation.

       4.      Plaintiff has incurred costs and attorney’s fees in bringing this matter.

                                JURISDICTION AND VENUE

       5.      This is an action for damages which exceed fifty thousand dollars ($50,000.00).

       6.      This is a civil action by Plaintiff against his former employer for monetary

damages, declaratory relief and for other equitable relief pursuant to the Florida Civil Rights Act

(“FCRA”) §760.01, et al.

       7.      Venue is appropriate in Marion County under § 47.011, Florida Statutes (2016),

because the events giving rise to the cause of action occurred in Marion County.

                                            PARTIES

       8.      Plaintiff is a forty-three-year-old African American male.

       9.      Plaintiff is a member of a class protected against discrimination based on his race

under the FCRA.

       10.     During the period from November 7, 2022, until February 28, 2023, Defendant

employed Plaintiff.

       11.     At all times material herein, Plaintiff met the definitions of “employee” and

“eligible employee” under all applicable state statutes.

       12.     The Defendant is LIFE CARE CENTERS OF AMERICA, INC. d/b/a LIFE CARE

CENTER OF OCALA, a Foreign Profit Corporation with a principal place of business located at

3570 KEITH STREET, N.W., CLEVELAND, TN 37312-4309.

       13.     At all times material herein, Defendant regularly conducted, and continues to

conduct, business throughout Marion County, Florida including their location at2800 SW 41st St,

Ocala, FL 34474, where they employed Plaintiff.
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       14.     At all times material herein, Defendant met, and continues to meet, the definitions

of “employer” under all applicable state statutes including, but not limited to, the FCRA.

       15.     Accordingly, Defendant is liable under the FCRA for the unlawful discrimination

and retaliation to which it subjected Plaintiff.

                            ADMINISTRATIVE PREREQUISITES

       17.     Plaintiff has properly exhausted all administrative prerequisites prior to filing the

instant lawsuit.

       18.     On July 3, 2023, Plaintiff timely dual filed a Charge of Discrimination with the

United States Equal Employment Opportunity Commission (“EEOC”) and the Florida

Commission on Human Relations (“FCHR”) against Defendant alleging, among other things, race

discrimination and retaliation.

       19.     More than one hundred eighty (180) days have elapsed since the filing of Plaintiff’s

Charge of Discrimination and the FCHR has not conciliated or determined whether there is

reasonable cause. Therefore, Plaintiff is also entitled to bring his FCRA claims in the instant civil

action against Defendant and jurisdiction is proper in this Court. See §§ 760.11(4)(a) and

760.11(8), Florida Statutes.

       21.     All conditions precedent to bringing this action have been performed or have

occurred.

                                   GENERAL ALLEGATIONS

       22.     On November 7, 2022, Life Care hired Mr. Adams to work as a Maintenance

Assistant. He reported directly to the Manager of Maintenance, Craig Tent (Caucasian), and the

Manager of Housekeeping, Denise Conage (African American).

       23.     Mr. Adams endured discrimination and harassment daily. Mr. Adams’ supervisors
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forced him to participate in numerous meetings, sometimes four or five daily. During these

meetings, Mr. Tent would attempt to intimidate Mr. Adams by standing near him, raising his voice,

and almost physically assaulting Mr. Adams. On occasion, Mr. Adams asked permission to be

excused from these meetings as he did not feel comfortable in that hostile environment. However,

Mr. Tent and Ms. Conage told Mr. Adams that leaving would be considered insubordination, so

he had no choice but to stay.

       24.     Mr. Tent repeatedly accused Mr. Adams of "stealing time," arguing that the

company paid Mr. Adams for not doing his job. In response, Mr. Adams asserted that he excelled

at his role, citing numerous compliments he had received for his work.

       25.     At one point, a fellow maintenance employee named Albert asked Ms. Conage and

Mr. Tent to not be so harsh on Mr. Adams, but Albert ended up being reprimanded for coming to

Mr. Adams’ defense.

       26.     In another meeting, Mr. Adams asked his supervisors if they could keep the door

open and allow him to stand at the entrance. In response, Mr. Tent quickly closed the door, nearly

slamming Mr. Adams' arm in the process. Understandably upset, Mr. Adams left the office, but

Mr. Tent insisted he return as he had Administrator Melissa Rahn on the phone. Mr. Tent

proceeded to bash Mr. Adams' character while talking to Ms. Rahn on the phone. Mr. Tent then

asked Ms. Rahn if Mr. Adams could clock out for the rest of the day. When Ms. Rahn realized that

Mr. Adams was present in the room hearing everything, she asked Mr. Adams to step out of the

office for a moment. A few minutes later, Ms. Rahn called Mr. Adams to tell him that he did not

have to go home but that he should avoid Mr. Tent.

       27.     Ms. Conage took part in the discrimination against Mr. Adams as well. One time,

Ms. Conage told Mr. Adams, “I am not going to allow no fucking nigger, Spanish person, or Puerto
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Rican to take my job.”

       28.     Mr. Adams’ coworkers noticed the harassment he was subjected to and raised

concerns about Mr. Tent and Ms. Conage.

       29.     Despite the company’s “open door” policy of asking questions, Mr. Adams’

supervisors discouraged Mr. Adams from reaching out to Ms. Rahn. They tried to convince Mr.

Adams that Ms. Rahn would not want to hear from him and that it would only serve to frustrate

her.

       30.     Mr. Adams refused to be intimidated by his supervisors and contacted HR in early

February 2023 to file a complaint. In response, HR came out to the facility and asked questions

regarding Mr. Adams’ complaint.

       31.     Following HR’s visit, Ms. Conage and Mr. Tent began retaliating against Mr.

Adams. They would assign Mr. Adams an overwhelming number of tasks instead of dividing those

tasks evenly among the team. They would also instruct Mr. Adams to complete his assignments in

the same timeframe as a three-person crew. Mr. Adams tried to reason with his supervisors about

his excessive workload and unrealistic deadlines, but they simply told Mr. Adams that if he did

not like his job, he should just find another one.

       32.     On February 28, 2023, Life Care terminated Mr. Adams for allegedly neglecting to

take out the trash. Mr. Tent had taken a picture of trash, sent it to Ms. Rahn, and fabricated a story

that Mr. Adams had not taken out the trash that day. However, Mr. Adams always made sure to

make his morning, afternoon, and before-clocking-out rounds, and February 28, 2023, was no

exception. When Mr. Adams left the building on the day of his termination, Mr. Tent laughed at

Mr. Adams as he passed by him.

       33.     Life Care later argued that Mr. Adams violated company policy by working
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overtime without approval from his supervisors. However, the reason Mr. Adams worked overtime

in the first place is because several employees were out sick due to COVID-19. Both Mr. Tent and

Ms. Conage had explicitly told Mr. Adams that he was welcome to work extra hours considering

the staff shortage. Additionally, Mr. Adams occasionally clocked in early to accommodate the

extra tasks assigned to him by Ms. Conage due to the lack of staff. Ms. Conage would always

forget to communicate this to Mr. Tent, who believed Mr. Adams clocked in early without

permission.

       34.     The company also claimed that Mr. Adams was disrespectful to his co-worker Ed

Hernandez, but this claim is entirely unfounded. Mr. Adams and Mr. Hernandez were good friends,

so much so that in June 2023, the latter confided multiple times in Mr. Adams about his plans to

resign because he did not like how Ms. Conage treated him. Moreover, Mr. Adams got along well

with the rest of the staff. In fact, he often received compliments for his performance and work ethic

from employees outside of his department.

       35.     The company further claimed that Mr. Adams missed work on February 4, 2023,

and that he failed to notify his supervisors. That day, Mr. Adams had to stay home because he

contracted COVID-19. While out sick, Mr. Tent asked Mr. Adams to go back to the facility to fill

out some medical forms, threatening to terminate Mr. Adams if he did not comply. Mr. Adams

explained to Mr. Tent that he felt so sick that he could not drive to work. However, following his

recovery, Mr. Adams submitted the required medical documentation to justify his absence.

       36.     Lastly, the company accused Mr. Adams of washing his clothes in the industrial

facility washer and of staying in the laundry room until his clothes were ready without permission.

In reality, Mr. Adams asked Ms. Conage permission to wash his clothes there after confiding in

her and Mr. Tent that he had lost his house and that he was living in a hotel nearby. Ms. Conage
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granted Mr. Adams permission to wash his clothes if he worked in the laundry department while

doing so, which is exactly what he did.

                                     COUNT I
                     VIOLATION OF FLORIDA CIVIL RIGHTS ACT,
                          FLORIDA STATUTES §§ 760.01-11
                                Race Discrimination

       37.     Plaintiff alleges, realleges, and incorporates by reference all allegations set forth in

each of the preceding Paragraphs 1 through 36 of this Complaint as though fully set forth herein.

       38.     Plaintiff, a forty-three-year-old African American male., is a member of a protected

class under the FCRA, §§ 760.01-760.11, Florida Statutes, by way of his race.

       39.     At all times material herein, Defendant employed Plaintiff and Defendant was and

is an “employer” within the meaning of the FCRA.

       40.     Defendant is a “person” within the meaning of the FCRA, § 760.02(6), Florida

Statutes, in that the definition includes “an individual, association, corporation, joint

apprenticeship committee, joint-stock company, labor union, legal representative, mutual

company, partnership, receiver, trust, trustee in bankruptcy, or unincorporated organization; any

other legal or commercial entity; the state; or any governmental entity or agency.” § 760.02(6),

Florida Statutes.

       41.     At all times material herein, Defendant was and is an “employer” within the

meaning of the FCRA. § 760.02(7), Florida Statutes.

       42.     The actions and inaction of Defendant, by and through the conduct of its employees,

supervisors, managers, and agents, as more particularly described hereinabove, constitute unlawful

discrimination based on his race.

       43.     As his employer, Defendant was obligated to guard against the disparate treatment

and discrimination of Plaintiff by his co-workers, supervisors, managers, and other agents of
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Defendant and to protect Plaintiff from discrimination in the workplace.

        44.     Defendant violated the FCRA by, among other things, failing to promptly correct

Mr. Tent and Ms. Conage’s discriminatory conduct toward Plaintiff once it learned of it and by

subjecting Plaintiff to discrimination because of his race.

        45.     Plaintiff, by being subjected to this discrimination created by Defendant, was

unreasonably and negatively affected in the terms, conditions, or privileges of his employment

with Defendant.

        46.     The conduct of Defendant, by and through its employees, supervisors, managers,

and other agents, and Defendant’s failure to exercise reasonable care to prevent and/or to take

prompt and effective investigative and remedial action to prevent the discrimination of Plaintiff,

deprived him of statutory rights under the FCRA.

        47.     As a direct, proximate, and foreseeable result of Defendant’s aforementioned

actions and omissions, Plaintiff has suffered, continues to suffer, and will suffer the following: (a)

lost wages and benefits, past and future; (b) lost earning capacity; (c) noneconomic damages,

including, but not limited to, pain and suffering, mental anguish, loss of dignity, loss of the capacity

for the enjoyment of life, and irreparable damages to his family and relationships; and (d) other

economic losses proximately caused and allowable under the FCRA, according to proof.

        WHEREFORE, the Plaintiff, FREDDY LORENZO ADAMS, requests trial by jury of all

issues so triable as of right, demands judgment against the Defendant, LIFE CARE CENTERS OF

AMERICA, INC. d/b/a LIFE CARE CENTER OF OCALA, and in favor of Plaintiff, and

respectfully requests that this Court grant the following relief:

                A.      Grant judgment in favor of Plaintiff and declare that Defendant has violated

        the FCRA by discriminating against Plaintiff based on his race;
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               B.     Award sufficient remedial relief to make Plaintiff whole for the individual

       loss that he has suffered because of Defendant’s discrimination against him, including, but

       not limited to, front pay in lieu of reinstatement, full backpay with interest, pension and

       related benefits, and any other appropriate nondiscriminatory measures to overcome the

       effects of the discrimination he has endured;

               C.     Award compensatory damages to Plaintiff in a sum that will properly and

       completely compensate Plaintiff for the nature, extent, and duration of the injuries and

       damages caused by Defendant’s discriminatory conduct and actions, pursuant to and within

       the statutory limitations of the FCRA;

               D.     Award Plaintiff all other damages available under the FCRA, including, but

       not limited to, the damages set forth above and other economic losses proximately caused

       and allowable under the FCRA, according to proof;

               E.     Award Plaintiff pre- and post-judgment interest;

               F.     Award Plaintiff his attorneys’ fees, including litigation expenses, and the

       costs of this action; and

               G.     Grant such other and further relief as this Court may deem equitable, just,

       and proper.

                                    COUNT II
                     VIOLATION OF FLORIDA CIVIL RIGHTS ACT,
                          FLORIDA STATUTES §§ 760.01-11
                                    Retaliation

       48.     Plaintiff alleges, realleges, and incorporates by reference all allegations set forth in

each of the preceding Paragraphs 1 through 36 of this Complaint as though fully set forth herein.

       49.     Plaintiff, a forty-three-year-old African American male, is a member of a protected

class under the FCRA, §§ 760.01-760.11, Florida Statutes, by way of his race.
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       50.     At all times material herein, Defendant employed Plaintiff and Defendant was and

is an “employer” within the meaning of the FCRA.

       51.     Defendant is a “person” within the meaning of the FCRA, § 760.02(6), Florida

Statutes, in that the definition includes “an individual, association, corporation, joint

apprenticeship committee, joint-stock company, labor union, legal representative, mutual

company, partnership, receiver, trust, trustee in bankruptcy, or unincorporated organization; any

other legal or commercial entity; the state; or any governmental entity or agency.” § 760.02(6),

Florida Statutes.

       52.     At all times material herein, Defendant was and is an “employer” within the

meaning of the FCRA. § 760.02(7), Florida Statutes.

       53.     LIFE CARE CENTERS OF AMERICA, INC. d/b/a LIFE CARE CENTER OF

OCALA subjected Plaintiff to adverse employment actions in retaliation for filing a complaint

regarding Mr. Tent and Ms. Conage’s discriminatory behavior by overworking him and

terminating his employment.

       54.      The actions and inaction of Defendant, by and through the conduct of its

employees, supervisors, managers, and agents, as more particularly described hereinabove,

constitute unlawful retaliation.

       55.     As his employer, Defendant was obligated to guard against the retaliation of

Plaintiff by his co-workers, supervisors, managers, and other agents of Defendant and to protect

Plaintiff from discrimination in the workplace.

       56.     Defendant violated the FCRA by, among other things, failing to promptly correct

the retaliatory conduct toward Plaintiff once it learned of it.

       57.     Plaintiff, by being subjected to this retaliation created by Defendant, was
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unreasonably and negatively affected in the terms, conditions, or privileges of his employment

with Defendant.

        58.     The conduct of Defendant, by and through its employees, supervisors, managers,

and other agents, and Defendant’s failure to exercise reasonable care to prevent and/or to take

prompt and effective investigative and remedial action to prevent the retaliation of Plaintiff,

deprived him of statutory rights under the FCRA.

        59.     As a direct, proximate, and foreseeable result of Defendant’s aforementioned

actions and omissions, Plaintiff has suffered, continues to suffer, and will suffer the following: (a)

lost wages and benefits, past and future; (b) lost earning capacity; (c) noneconomic damages,

including, but not limited to, pain and suffering, mental anguish, loss of dignity, loss of the capacity

for the enjoyment of life, and irreparable damages to his family and relationships; and (d) other

economic losses proximately caused and allowable under the FCRA, according to proof.

        WHEREFORE, the Plaintiff, FREDDY LORENZO ADAMS, requests trial by jury of

all issues so triable as of right, demands judgment against the Defendant, LIFE CARE

CENTERS OF AMERICA, INC. d/b/a LIFE CARE CENTER OF OCALA, and in favor of

Plaintiff, and respectfully requests that this Court grant the following relief:

                A.      Grant judgment in favor of Plaintiff and declare that Defendant has violated

        the FCRA by retaliating against Plaintiff based on his complaint regarding discrimination

        by terminating his employment;

                B.      Award sufficient remedial relief to make Plaintiff whole for the individual

        loss that he has suffered because of Defendant’s retaliation against him, including, but not

        limited to, front pay in lieu of reinstatement, full backpay with interest, pension and related

        benefits, and any other appropriate nondiscriminatory measures to overcome the effects of
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       the discrimination he has endured;

               C.      Award compensatory damages to Plaintiff in a sum that will properly and

       completely compensate Plaintiff for the nature, extent, and duration of the injuries and

       damages caused by Defendant’s retaliatory conduct and actions, pursuant to and within the

       statutory limitations of the FCRA;

               D.      Award Plaintiff all other damages available under the FCRA, including, but

       not limited to, the damages set forth above and other economic losses proximately caused

       and allowable under the FCRA, according to proof;

               E.      Award Plaintiff pre- and post-judgment interest;

               F.      Award Plaintiff his attorneys’ fees, including litigation expenses, and the

       costs of this action; and

               G.      Grant such other and further relief as this Court may deem equitable, just,

       and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff respectfully requests a trial by jury.

Date this 13th day of January 2024.

                                                          /s/ Jason W. Imler, Esq
                                                          Jason W. Imler
                                                          Florida Bar No. 1004422
                                                          Imler Law
                                                          23110 State Road 54, Unit 407
                                                          Lutz, Florida 33549
                                                          (P): 813-553-7709
                                                          Jason@ImlerLaw.com
        Case 5:24-cv-00083-TJC-PRL Document 1-1 Filed 02/22/24 Page 18 of 29 PageID 29
Filing # 189720537 E-Filed 01/13/2024 07:36:43 PM




                     IN THE    CIRCUIT COURT FOR THE FIFTH JUDICIAL                    CIRCUIT
                                 IN AND FOR MARION COUNTY, FLORIDA
                                            CIVIL DIVISION

         FREDDY     LORENZO       ADAMS,

                Plaintiff,

        v.                                                      CASE    NO:

         LIFE CARE CENTERS OF AMERICA, INC.
         d/b/a LIFE CARE CENTER OF OCALA,

                Defendant.



                                                     SUMMONS

         THE STATE OF FLORIDA:
         To Each Sheriff of the State:
        YOU ARE COMMANDED to serve this summons and.a copy of the complaint or petition in this
        action on defendant, LIFE CARE CENTERS OF AMERICA, INC. d/b/a LIFE CARE CENTER
        OF OCALA’s registered agent:

         CORPORATION SERVICE COMPANY
         1201 HAYS STREET
         TALLAHASSEE, FL 32301

         Each defendant is required to serve written defenses to the complaint or petition on   Jason W. Imler,
        plaintiff's attorney, whose address is 23110 State Road 54, Unit 407, Lutz, Florida 33549 within
        20! days after service of this summons on that defendant, exclusive of the day of service, and to
        file the original of the defenses with the clerk of this court either before service on plaintiff's
        attorney or immediately thereafter. If a defendant fails to do so, a default will be entered against
        that defendant for the relief demanded in the complaint or petition.

         DATED on this 13th day of January 2024
        /s/ Jason W.Imler                                               GREGORY C. HARRELL
        Printed:    Jason W. Imler                                      As Clerk of the Court
        Attorney for FREDDY LORENZO ADAMS
        23110 State Road 54, Unit 407                                   By:
        Lutz, Florida 33549                                             As Deputy Clerk
        Phone (813) 553-7709                                            (352) 754-4201
        Florida Bar No.:      1004422



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         Electronically Filed Marion Case # 24CA000073AX 01/13/2024 07:36:43 PM
Case 5:24-cv-00083-TJC-PRL Document 1-1 Filed 02/22/24 Page 19 of 29 PageID 30




‘Except when suit is brought pursuant to section 768.28, Florida Statutes, if the State of Florida,
one of its agencies, or one of its officials or employees sued in his or her official capacity is a
defendant, the time to be inserted as to it is 40 days. When suit is brought pursuant to section
768.28, Florida Statutes, the time to be inserted is 30 days.

If you are a person with a disability who needs an accommodation in order to participate in a
proceeding, you are entitled, at no cost to you, the provision of certain assistance. Please contact
the ADA Coordinator for the Courts within 2 working days of your receipt of your notice to appear
in Court at: Citrus County, John Sullivan (352) 341-6700; Hernando County, Peggy Welch (352)
754-4402; Lake County, Laurie Crews (352) 253-0900 x100; Marion County, Tameka Gordon
(352) 401-6701; or Sumter County, Lorna Barker (352) 569-6088.

                                              IMPORTANT
A lawsuit has been filed against you. You have 20 calendar days after this summons is served on
you to file a written response to the attached complaint with the clerk of this court. A phone call
will not protect you. Your written response, including the case number given above and the names
of the parties, must be filed if you want the court to hear your side of the case. If you do not file
your response on time, you may lose the case, and your wages, money, and property may thereafter
be taken without further warning from the court. There are other legal requirements. You may
want to call an attorney right away. If you do not know an attorney, you may call an attorney
referral service or a legal aid office (listed in the phone book).

If you choose to file a written response yourself, at the same time you file your written response
to the court you must also mail or take a copy of your written response to the “Plaintiff/Plaintiff’s
Attorney” named in the documents.

                                            IMPORTANTE
Usted ha sido demandado legalmente. Tiene 20 dias, contados a partir del recibo de esta
notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal.Una
llamada telefonica no lo protegera. Si usted desea que el tribunal considere su defensa, debe
presentar su respuesta por escrito, incluyendo el numero del caso y los nombres de las partes
interesadas. Si usted no contesta la demanda a tiempo, pudiese perder el caso y podria ser
despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal.
Existen otros requisitos legales. Si lo desea, puede usted consultar a un abogado inmediatamente.
Sino conoce a un abogado, puede llamar a una de las oficinas
de asistencia legal que aparecen en la guia telefonica.

Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su respuesta ante
el tribunal, debera usted enviar por correo o entregar una copia de su respuesta a la persona
denominada abajo como Plaintiff/Plaintiff's Attorney” (Demandante o Abogado del Demandante).
Case 5:24-cv-00083-TJC-PRL Document 1-1 Filed 02/22/24 Page 20 of 29 PageID 31




                                             IMPORTANT
Des poursuites judiciares ont ete entreprises contre vous. Vous avez 20 jours consecutifs a partir
de la date de l’assignation de cette citation pour deposer une reponse ecrite a la plainte ci-jointe
aupres de ce tribunal. Un simple coup de telephone est insuffisant pour vous proteger. Vous
etesobliges de deposer votre reponse ecrite, avec mention du numero de dossier ci-dessus et du
nom des parties nommees ici,si vous souhaitez que le tribunal entende votre cause. Si vous ne
deposez pas votre reponse ecrite dans le relai requis, vous risquez de perdre la cause ainsi que
votre salaire, votre argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis ulterieur
du tribunal. Il y a d’autres obligations juridiques et vous pouvez requerir les services immediats
d’un avocat. Si vous ne connaissezpas d’avocat, vous pourriez telephoner a un service de reference
d’avocats ou a un bureau d’ assistance juridique (figurant a l’annuaire de telephones).

Si vous choisissez de deposer vous-meme une reponse ecrite,il vous faudra egalement, en meme
temps que cette formalite, faire parvenir ou expedier une copie de votre reponse ecrite au
“Plaintiff/Plaintiff’s Attorney” (Plaignant ou a son avocat) nomme ci-ddessousous.
        Case 5:24-cv-00083-TJC-PRL Document 1-1 Filed 02/22/24 Page 21 of 29 PageID 32
Filing # 190225552 E-Filed 01/22/2024 11:56:08 AM




                     IN THE         CIRCUIT    COURT   FOR    THE    FIFTH   JUDICIAL   CIRCUIT
                                     IN AND    FOR   MARION    COUNTY,       FLORIDA
                                                     CIVIL   DIVISION


         FREDDY     LORENZO           ADAMS,


                Plaintiff,
         v.                                                         CASE NO:      24-CA-73

         LIFE CARE CENTERS OF AMERICA, INC.
         d/b/a LIFE CARE CENTER OF OCALA,

                Defendant.



                                                       SUMMONS

         THE STATE OF FLORIDA:
         To Each Sheriff of the State:
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         OF OCALA’s registered agent:

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         1201 HAYS STREET
         TALLAHASSEE, FL 32301

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         plaintiff's attorney, whose address is 23110 State Road 54, Unit 407, Lutz, Florida 33549 within
         20' days after service of this summons on that defendant, exclusive of the day of service, and to
         file the original of the defenses with the clerk of this court either before service on plaintiff's
         attorney or immediately thereafter. If a defendant fails to do so, a default will be entered against
         that defendant for the relief demanded in the complaint or petition.
                             22ND
         DATED on this +3th day of January 2024
        /s/ Jason W.Imler                                                GREGORY C. HARRELL
        Printed: _ Jason W. Imler                                        As Clerk of the Court
        Attorney for FREDDY LORENZO ADAMS
        23110 State Road 54, Unit 407                                    By:    Nowe
        Lutz, Florida 33549                                              As Deputy Clerk
        Phone (813) 553-7709                                             (352) 754-4201
        Florida Bar No.: 1004422


                                                             1
         Electronically Filed Marion Case # 24CA000073AX 01/22/2024 07:36:08 RM
Case 5:24-cv-00083-TJC-PRL Document 1-1 Filed 02/22/24 Page 22 of 29 PageID 33




‘Except when suit is brought pursuant to section 768.28, Florida Statutes, if the State of Florida,
one of its agencies, or one of its officials or employees sued in his or her official capacity is a
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in Court at: Citrus County, John Sullivan (352) 341-6700; Hernando County, Peggy Welch (352)
754-4402;   Lake County,   Laurie Crews   (352) 253-0900 x100; Marion County, Tameka          Gordon
(352) 401-6701; or Sumter County, Lorna Barker (352) 569-6088.

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to the court you must also mail or take a copy of your written response to the “Plaintiff/Plaintiff’s
Attorney” named in the documents.

                                           IMPORTANTE
Usted ha sido demandado legalmente. Tiene 20 dias, contados a partir del recibo de esta
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Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su respuesta ante
el tribunal, debera usted enviar por correo o entregar una copia de su respuesta a la persona
denominada abajo como Plaintiff/Plaintiff’'s Attorney” (Demandante o Abogado del Demandante).
Case 5:24-cv-00083-TJC-PRL Document 1-1 Filed 02/22/24 Page 23 of 29 PageID 34




                                             IMPORTANT
Des poursuites judiciares ont ete entreprises contre vous. Vous avez 20 jours consecutifs a partir
de la date de l’assignation de cette citation pour deposer une reponse ecrite a la plainte ci-jointe
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du tribunal, Il y a d’autres obligations juridiques et vous pouvez requerir les services immediats
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“Plaintiff/Plaintiff’s Attorney” (Plaignant ou a son avocat) nomme ci-ddessousous.
        Case 5:24-cv-00083-TJC-PRL Document 1-1 Filed 02/22/24 Page 24 of 29 PageID 35
Filing # 190490977 E-Filed 01/24/2024 10:42:59 PM



                     IN THE CIRCUIT COURT FOR THE FIFTH JUDICIAL CIRCUIT
                              IN AND FOR MARION COUNTY, FLORIDA
                                         CIVIL DIVISION

         FREDDY LORENZO ADAMS,

                Plaintiff,

        Vv.                                                     CASE    NO:       = 24-CA-73


        LIFE CARE CENTERS            OF AMERICA, INC.
         d/b/a LIFE CARE CENTER OF OCALA,

                Defendant.
                                                                                   /

               PLAINTIFF’S NOTICE OF FILING PROOF OF SERVICE ON DEFENDANT

                The Plaintiff, FREDDY      LORENZO      ADAMS,     hereby files the attached Proof of Service

         against Defendant, LIFE CARE CENTERS OF AMERICA, INC. d/b/a LIFE CARE CENTER OF

         OCALA.

                                                                Respectfully Submitted by:

                                                                /s/ Jason W. Imler, Esq
                                                                Jason W. Imler
                                                                Florida Bar No. 1004422
                                                                Imler Law
                                                                23110 State Road 54, Unit 407
                                                                Lutz, Florida 33549
                                                                (P): 813-553-7709
                                                                Jason@ImlerLaw.com
                                                                Attorneys for Plaintiff




         Electronically Filed Marion Case # 24CA000073AX 01/24/2024 10:42:59 PM
Case 5:24-cv-00083-TJC-PRL Document 1-1 Filed 02/22/24 Page 25 of 29 PageID 36




                               CERTIFICATE OF SERVICE

       I HEREBY    CERTIFY that on January 24, 2024, I electronically filed the foregoing with

the Clerk of court using CM/ECF system.

                                                  /s/ Jason W. Imler, Esq
                                                  Jason W. Imler
                                                  Florida Bar No. 1004422
                                                  Imler Law
                                                  23110 State Road 54, Unit 407
                                                  Lutz, Florida 33549
                                                  (P): 813-553-7709
                                                  Jason@ImlerLaw.com
                                                  Attorneys for Plaintiff
        Case 5:24-cv-00083-TJC-PRL Document 1-1 Filed 02/22/24 Page 26 of 29 PageID 37
Filing # 190490977 E-Filed 01/24/2024 10:42:59 PM


                                                                  RETURN OF SERVICE

         State of Florida                                                                                                                       County of Marion

         Case Number: 24-CA-73


         Freddy Lorenzo Adams
                                                                                                                                      BPA2024000054
         vs.
         Defendant:
         Life Care Centers of America,     Inc. d/b/a Life Care Centerss of Ocala

         For:
         Jason imler
         Imler Law
         23110 State Road 54 #407
         Lutz, FL 33549

         Received by BARRETT PARALEGAL SERVICES, INC. on the 23rd day of January, 2024 at 9:50 am to be served on Life Care
         Centers of America,    Inc. d/b/a Life Care Center of Ocala, Corporation Service Company,                             1201   Hays Street, Tallahassee,
         FL 32301.

         |, Christopher Scott Kady, do hereby affirm that on the 24th day of January, 2024 ai 12:00 pm, I:

         served a CORPORATE, PARTNERSHIP, ASSOCIATION OR GOVERNMENT SERVICE Served the within named business entity
         by delivering a true copy of Summons; Complaint; and Civil Cover Sheet to: Cierra Young as Service Liaison, an employee of
         the Registered Agent after confirming the Registered Agent was not in the office or was otherwise unavailable, pursuant to the
         requirements of Fla. Stat. 48.091, and informed said person of the contents therein, at 1201 Hays Street, TALLAHASSEE, FL
         32301. on behalf of Life Care Centers of America,         Inc. d/b/a Life Care Center of Ocala, and informed said person of the
         contents therein, in compliance with state statutes.


         Description of Person Served: Age: 32, Sex: F, Race/Skin Color: Black, Height: 5'9", Weight:                          180,Hair:   Black, Glasses:   N
                                                                                                                                 a

         | certify that | am over the age of 18, have no interest in the above action, and am a Certified Progéss Server, in good stan ding, in
         the judicial circuit in which the process was served. "Under penalties of perjury, | declare that | fave read the foregoing document
         and that the facts in it are true" F.S. 92.525. NOTARY NOT REQUIRED PURSUAN§               TO FS92.525




                                                                                           BARRETT        PARALEGAL             SERVICES,     INC.
                                                                                           23024 Sw 104th         Place
                                                                                           Cutler Bay, FLi33190
                                                                                           (305) 878-5310)
                                                                                           Our Job Serial Number:              BPA-2024000054




                                            Copyright © 1992-2024 DreamBuilt Software, Inc. - Process Server's Toolbox V8.2r



         Electronically Filed Marion Case # 24CA000073AX 01/24/2024 10:42:59 PM
         Case 5:24-cv-00083-TJC-PRL Document 1-1 Filed 02/22/24 Page 27 of 29 PageID 38
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                    IN THE          CIRCUIT    COURT   FOR    THE    FIFTH   JUDICIAL       CIRCUIT
                                     IN AND    FOR   MARION       COUNTY,    FLORIDA
                                                     CIVIL   DIVISION


        FREDDY      LORENZO           ADAMS,


                Plaintiff,
        v.                                                          CASE NO:      24-CA-73

        LIFE CARE CENTERS OF AMERICA, INC.
        d/b/a LIFE CARE CENTER OF OCALA,

               Defendant.



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                             22ND
        DATED on this +3th day of January 2024
        /s/ Jason W.Imler                                                GREGORY C. HARRELL
        Printed: _ Jason W. Imler                                        As Clerk of the Court
        Attorney for FREDDY LORENZO ADAMS
        23110 State Road 54, Unit 407                                    By:    Nowe
        Lutz, Florida 33549                                              As Deputy Clerk
        Phone (813) 553-7709                                             (352) 754-4201
        Florida Bar No.: 1004422


                                                              1
        Electronically Filed Marion Case # 24CA000073AX 01/13/2024 07:36:43 PM
Case 5:24-cv-00083-TJC-PRL Document 1-1 Filed 02/22/24 Page 28 of 29 PageID 39




‘Except when suit is brought pursuant to section 768.28, Florida Statutes, if the State of Florida,
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754-4402;   Lake County,   Laurie Crews   (352) 253-0900 x100; Marion County, Tameka          Gordon
(352) 401-6701; or Sumter County, Lorna Barker (352) 569-6088.

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Case 5:24-cv-00083-TJC-PRL Document 1-1 Filed 02/22/24 Page 29 of 29 PageID 40




                                             IMPORTANT
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de la date de l’assignation de cette citation pour deposer une reponse ecrite a la plainte ci-jointe
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